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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                    CASE NUMBER

                                                                      SACR 20-127 MWF
                                              PLAINTIFF(S)
                            v.
LEI, GUAN                                                     RESPONSE BY THE COURT TO NOTICE TO
                                                                   FILER OF DEFICIENCIES IN
                                           DEFENDANT(S).       ELECTRONICALLY FILED DOCUMENTS


In accordance with the Notice to Filer Of Deficiencies In Electronically Filed Documents

REGARDING:


       5/10/2021                       196                      Notice of Withdrawal of Counsel
       Date Filed                      Doc. No.                 Title of Doc.


IT IS HEREBY ORDERED:

       ✔ The document is accepted as filed
       G
       G The document is stricken and counsel is ordered to file an amended or
         corrected document by                                                 .
       G The hearing date has been rescheduled to                                            at
       ✔ Other
       G
            The Court ordered counsel to file a Notice of Withdrawal of Counsel (see Order, Docket No. 190).
            The Clerk of Court shall terminate Bin Li as attorney for Defendant.




                                                             Clerk, U.S. District Court




Dated: May 11, 2021                                          By:    Rita Sanchez/sjm
                                                                   Deputy Clerk


cc: Assigned District Judge and/or Magistrate Judge



              RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
G-112B (01/07)
